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1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
4
     Attorney for Defendant
5    TERI SCHELL

6

7                         IN THE UNITED STATES DISTRICT COURT

8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             )    2:14-CR-00325 JAM
                                           )
11                            Plaintiff,   )
                                           )
12   v.                                    )    STIPULATION AND ORDER
                                           )    TO CONTINUE STATUS CONFERENCE
13                                         )
     TERI SCHELL,                          )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Josh F. Sigal, defendant, David Schell, by
19
     and through his counsel, John R. Duree, Jr., and defendant, Teri Schell, by
20
     and through her counsel, Erin J. Radekin, agree and stipulate to vacate the
21
     date set for status conference, June 30, 2015 at 9:15 a.m., in the above-
22
     captioned matter, and to continue the status conference to July 28, 2015 at
23
     9:15 a.m. in the courtroom of the Honorable John A. Mendez.
24
           The reason for this request is to allow additional time for the defense
25
     to complete investigation and other defense preparation; and for the parties
26
     to engage in plea negotiations.   The Court is advised that Mr. Sigal concurs
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                                    Stipulation and Order - 1
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1    with this request and that he and Mr. Duree have authorized Ms. Radekin to

2    sign this stipulation on their behalf.

3          The parties further agree and stipulate that the time period from the

4    filing of this stipulation until July 28, 2015 should be excluded in

5    computing time for commencement of trial under the Speedy Trial Act, based

6    upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv), and Local

7    Code T4, to allow reasonable time necessary for effective defense

8    preparation.   It is further agreed and stipulated that the ends of justice

9    served in granting the request outweigh the best interests of the public and

10   the defendant in a speedy trial.

11         Accordingly, the parties respectfully request the Court adopt this

12   proposed stipulation.

13   IT IS SO STIPULATED

14   Dated: June 26, 2015                         BENJAMIN WAGNER
                                                  United States Attorney
15
                                          By:      /s/ Josh F. Sigal
16                                                JOSH F. SIGAL
                                                  Assistant United States Attorney
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18   Dated: June 26, 2015                          /s/ John R. Duree, Jr.
                                                  JOHN R. DUREE, JR.
19                                                Attorney for Defendant
                                                  DAVID SCHELL
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21   Dated: June 26, 2015                          /s/ Erin J. Radekin
                                                  ERIN J. RADEKIN
22                                                Attorney for Defendant
                                                  TERI SCHELL
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24
                                          ORDER
25
           For the reasons set forth in the accompanying stipulation and
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     declaration of counsel, the status conference date of June 30, 2015 at 9:15
27
     a.m. is VACATED and the above-captioned matter is set for status conference
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                                   Stipulation and Order - 2
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1    on July 28, 2015 at 9:15 a.m.    The Court finds excludable time in this matter

2    through July 28, 2015 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4,

3    to allow reasonable time necessary for effective defense preparation.      For

4    the reasons stipulated by the parties, the Court finds that the interest of

5    justice served by granting the request outweigh the best interests of the

6    public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A),

7    (h)(7)(B)(iv).

8    IT IS SO ORDERED.

9    Dated: 6/26/2015                      /s/ John A. Mendez________________
                                           HON. JOHN A. MENDEZ
10                                         United States District Court Judge

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                                     Stipulation and Order - 3
